      Case 6:23-cv-00013 Document 30 Filed on 04/13/23 in TXSD Page 1 of 1



UNITED STATES DISTRICT COURT                                         SOUTHERN DISTRICT OF TEXAS


                   Motion and Order for Admission Pro Hac Vice

      Division         Victoria                              Case Number              6:23-cv-00013
                                           State of Texas, et al.


                                                    versus
                    Bureau of Alcohol, Tobacco, Firearms and Explosives, et al.



           Lawyer’s Name                  Taylor Pitz
                                          U.S. Department of Justice
                Firm                      Civil Division, Federal Programs Branch
                Street                    1100 L Street NW
          City & Zip Code                 Washington DC 20005
         Telephone & Email                (202) 305-5200
      Licensed: State & Number            taylor.n.pitz@usdoj.gov
       Federal Bar & Number               California Bar No. 332080



 Name of party applicant seeks to                                     Defendants
 appear for:


                                                                                  ✔
 Has applicant been sanctioned by any bar association or court? Yes _______ No ________

 On a separate sheet for each sanction, please supply the full particulars.


 Dated:                         Signed:                             /s/ Taylor Pitz
              4/13/2023



 The state bar reports that the applicant’s status is:


 Dated:                         Clerk’s signature



               Order
                                                    This lawyer is admitted pro hac vice.

Dated:
                                                             United States District Judge
